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                             UN ITED STAT ES DISTRIC T C O U R T
                        FO R TH E SO U TH E RN D ISTR ICT O F FLO R ID A

  STEPHEN P.M ITCH ELL,

                 Plaintiff


                                                         C A SE NO .:9:16-C V -80018-K A M

  SUN TRU ST M O RTGA GE,IN C.AN D
  SUN TRU ST B AN K ,

                 Defendants.


                             FINA L O RD ER O F DISM ISSAL W IT H PR EJU D ICE

         This cause having com e before the court on the Parties'Joint Stipulation for FinalOrder

  ofDismissalwithPrejudieeLD.E.;T).TheCourthascarefullyreviewed said Stipulation,the
  entire courttile and isotherw ise fully advised in the prem ises.
         Aecordingly,itis O R D ER ED AN D AD JU D G ED as follow s:
             TheStipulation (D.E.; isherebyapproved,adopted,andratitiedbytheCourt;
             This action is D ISM ISSED W ITH PR EJU D ICE ,w ith each party to bear its ow n
             costs and tkes exeeptasotherw ise agreed'
                                                     ,
             The C lerk shallC LO SE this case and D EN Y any pending m otions as m oot;
             A s the parties have expressly conditioned the effectiveness of the stipulation on the
             Court'sentryofanorderretainingjurisdiction,theCoul'twillretainjurisdiction solely
             forthe purpose ofenforcing the settlem entagreem ent. SeeAnago Franchising,Inc.v.


         DO N E A ND     ORDERED in chambers in WEST PALM Florida this3W day ot.
                                                                        ,
            520 17.



                                                        H onorable K enneth A .M arra
                                                        U nited States D istrictJudge
 Copiesfurnishedto..
 CounselofRecord
